537 U.S. 801
    JUBELIRER, LIEUTENANT GOVERNOR OF PENNSYLVANIA, ET AL.v.VIETH ET AL.
    No. 02-135.
    Supreme Court of United States.
    October 7, 2002.
    
      1
      CERTIORARI TO THE DISTRICT COURT OF MIDDLE DISTRICT OF PENNSYLVANIA.
    
    
      2
      Appeals from D. C. M. D. Pa. dismissed as moot. Reported below: Nos. 01-1817 and 01-1823, 195 F. Supp. 2d 672; Nos. 01-1873 and 02-135, 188 F. Supp. 2d 532.
    
    